
ON MOTIONS FOR REHEARING AND CERTIFICATION
PER CURIAM.
We deny the State’s motion for rehearing.
We grant the State’s request for certification of a question of great public importance:
In a case tried prior to the decision in State v. Dominguez, 509 So.2d 917 (Fla.1987), is it fundamental error to fail to instruct the jury that in order to convict, the State must prove that defendant knew the substance contained in the package in defendant’s car was cocaine, where the instructions were susceptible of the reading that knowing possession of the package containing the substance was sufficient to convict, and where the error is urged on direct appeal from the conviction, not on collateral attack.
Motion for rehearing denied; question certified.
